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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION


    BRADLEY FEHRLE,

                    Plaintiff,                                  CIVIL ACTION NO.: 4:22-cv-232

          v.

    ROBIE WALP,

                    Defendant.


                     ORDER AND NOTICE OF PRETRIAL PROCEEDINGS

         The Court hereby ORDERS lead counsel for all parties in this case to prepare and file with

the Clerk of this Court a joint consolidated proposed pretrial order using the Pretrial Order Form

for     use    in      Judge     Baker’s   cases     located     on     the    Court’s     website      at:

https://www.gasd.uscourts.gov/judge-baker-instructions-and-forms. 1 The proposed pretrial order

shall be filed by the close of business on January 13, 2025. Counsel for the plaintiff(s) shall have

the responsibility to initiate compliance herewith.            A party’s failure to comply with the

requirements hereof may result in dismissal of the complaint or answer or in other sanctions

determined appropriate by the Court. If any party in this case is not represented by counsel, such

party shall be obligated to comply with the requirements hereof in the same manner as counsel.

         A pretrial conference is scheduled for Thursday, January 23, 2025, at 10:00 AM, at the

Federal Courthouse, Courtroom 1, 8 Southern Oaks Court, Savannah, Georgia, before R. Stan


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   The parties must use this Form when filing their proposed Pretrial Order. The Form is a fillable Word
document; when using this fillable Word document, the parties are reminded to follow the Court’s
procedures for electronic filings, detailed in Section VI of the Rule 26 Instruction Order entered shortly
after this case was filed in this Court. Specifically, counsel shall not print and then scan the proposed
Pretrial Order before filing but instead directly convert the completed form into a text-searchable PDF for
filing.
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Baker, United States District Judge. The pretrial conference will be conducted in person, and

all attorneys participating in the trial of the case and all parties shall be physically present

at the conference. 2

        At the time of the pretrial conference, the Court will approve, disapprove, or direct

amendment of the proposed pretrial order. Proposed pretrial orders which are not consolidated

(proposed jointly) will not be accepted for filing without the written permission of the Court.

        SO ORDERED, this 14th day of November, 2024.




                                         R. STAN BAKER, CHIEF JUDGE
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF GEORGIA




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   To be clear, any individual party shall be personally present, and any party that is an entity shall be
represented by someone other than counsel (such as an officer, director, or manager) who has full settlement
authority for the party.


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